Case 2:20-cv-10051-MWF-PVC Document 81 Filed 01/12/22 Page 1 of 15 Page ID #:1074



     1
     2
     3
     4
     5
     6
     7
     8                      UNITED STATES DISTRICT COURT
     9                     CENTRAL DISTRICT OF CALIFORNIA
    10
    11 JAMES SHAYLER,                   )    CASE NO. CV 20-10051 MWF (PVCx)
                                        )
    12                  Plaintiff,      )    ORDER RE COURT TRIAL
                                        )
    13        v.                        )    I.     ORDER RE DEADLINES
                                        )
    14   MMWH GROUP LLC, et al.,        )    II.    ORDER RE TRIAL
                                        )           PREPARATION
    15                  Defendants.     )
                                        )    III.   ORDER GOVERNING
    16                                  )           CONDUCT OF ATTORNEYS
                                        )           AND PARTIES
    17                                  )
                                        )    Trial: December 6, 2022
    18   ______________________________ )    Time: 8:30 a.m.
    19 ///
    20 ///
    21 ///
    22 ///
    23 ///
    24 ///
    25 ///
    26 ///
    27 ///
    28 ///

                                             1
Case 2:20-cv-10051-MWF-PVC Document 81 Filed 01/12/22 Page 2 of 15 Page ID #:1075



     1                                           I.
     2                                   DEADLINES
     3   Last Day to Add Parties/Amend                April 4, 2022
     4   Pleadings
         Non-expert Discovery Cut-off                 July 29, 2022
     5
     6   Expert Disclosure (Initial)                  July 29, 2022
     7
         Expert Disclosure (Rebuttal)                 August 12, 2022
     8
     9   Expert Discovery Cut-off                     August 26, 2022

    10   Last Day to Hear Motions                     August 29, 2022
    11
         Last Day to Conduct ADR Proceeding           September 16, 2022
    12
    13   File Status Report Regarding                 October 24, 2022
         Settlement
    14   File Motions In Limine
    15   Lodge Pretrial Conference Order              October 31, 2022
         File Oppositions to Motions in Limine
    16   Lodge Findings of Fact and                   November 14, 2022
         Conclusions of Law, and Summaries of
    17   Direct Testimony
    18   Final Pretrial Conference and Hearing        November 14, 2022, at 11:00 a.m.
         on Motions in Limine
    19
         Trial Date (Est. 1 to 3 Days)                December 6, 2022, at 8:30 a.m.
    20
    21
    22 ///
    23 ///
    24 ///
    25 ///
    26 ///
    27 ///
    28 ///

                                                 2
Case 2:20-cv-10051-MWF-PVC Document 81 Filed 01/12/22 Page 3 of 15 Page ID #:1076



     1         A.    PARTIES/PLEADINGS
     2         The Court has established a cut-off date for adding parties or amending
     3 pleadings. All motions to add parties or to amend the pleadings must be noticed to
     4 be heard on or before the cut-off date. All unserved parties will be dismissed at
     5 the time of the pretrial conference pursuant to Local Rule 16-8.1.
     6         B.    DISCOVERY AND DISCOVERY CUT-OFF
     7         1.    Discovery Cut-off: The Court has established a cut-off date for
     8 discovery, including expert discovery, if applicable. This is not the date by which
     9 discovery requests must be served; it is the date by which all discovery, including
    10 all hearings on any related motions, is to be completed.
    11         2.    Discovery Disputes: Counsel are expected to comply with all Federal
    12 Rules of Civil Procedure and the Local Rules concerning discovery. Whenever
    13 possible, the Court expects counsel to resolve discovery problems among
    14 themselves in a courteous, reasonable and professional manner. The Court expects
    15 that counsel will adhere strictly to the Civility and Professionalism Guidelines
    16 (which can be found on the Court’s website under Attorney Information, Attorney
    17 Admissions).
    18         3.    Discovery Motions: Any motion challenging the adequacy of
    19 discovery responses must be filed, served, and calendared sufficiently in advance
    20 of the discovery cut-off date to permit the responses to be obtained before that date
    21 if the motion is granted.
    22         4.    Depositions: All depositions shall commence sufficiently in advance
    23 of the discovery cut-off date to permit their completion and to permit the deposing
    24 party enough time to bring any discovery motions concerning the deposition before
    25 the cut-off date. Given the requirements to “meet and confer” and to give notice,
    26 in most cases a planned motion to compel must be discussed with opposing
    27 counsel at least six weeks before the cut-off.
    28 ///

                                                  3
Case 2:20-cv-10051-MWF-PVC Document 81 Filed 01/12/22 Page 4 of 15 Page ID #:1077



     1         5.      Written Discovery: All interrogatories, requests for production of
     2 documents and requests for admissions must be served sufficiently in advance of
     3 the discovery cut-off date to permit the discovering party enough time to challenge
     4 (via motion practice) responses deemed to be deficient.
     5         6.      Expert Discovery: All disclosures must be made in writing. The
     6 parties should begin expert discovery shortly after the initial designation of
     7 experts. The final pretrial conference and trial dates will not be continued merely
     8 because expert discovery is not completed. Failure to comply with these or any
     9 other orders concerning expert discovery may result in the expert being excluded
    10 as a witness.
    11         C.      LAW AND MOTION
    12         1.      The Court has established a cut-off date for the hearing of motions.
    13 All motions must be noticed so that the hearing takes place on or before the motion
    14 cut-off date. Counsel are advised that the Court may close a hearing date once the
    15 number of motions filed exceeds the maximum number of motions that reasonably
    16 can be heard on that date. Counsel should anticipate that a preferred hearing date
    17 may be unavailable. Therefore, to avoid being unable to file a motion to be heard
    18 by the cut-off date, counsel should file motions sufficiently in advance of the
    19 hearing cut-off date to ensure that a hearing date is available.
    20         2.      Counsel must provide Chambers with mandatory Chambers copies of
    21 all documents. Chambers copies should not be put in envelopes. Counsel should
    22 consult the Court’s website at www.cacd.uscourts.gov, Judges’ Procedures and
    23 Schedules, Hon. Michael W. Fitzgerald for further information regarding
    24 Chambers copies and motion procedures.
    25         D.      SETTLEMENT PROCEDURES
    26         Counsel must complete a settlement conference under the Court-Directed
    27 ADR Program no later than the date set by the Court. If the parties desire to
    28 participate in an ADR procedure other than that elected in the Rule 26(f)

                                                   4
Case 2:20-cv-10051-MWF-PVC Document 81 Filed 01/12/22 Page 5 of 15 Page ID #:1078



     1 Scheduling Report and Order, they shall file a stipulation with the Court. this
     2 request will not necessarily be granted.
     3         No case will proceed to trial unless all parties, including the principals of all
     4 corporate parties, have appeared personally at a settlement conference.
     5         E.     FINAL PRETRIAL CONFERENCE
     6         1.     A final pretrial conference date has been set pursuant to Rule 16 of the
     7 Federal Rules of Civil Procedure and Local Rule 16-8. Unless excused for good
     8 cause, each party appearing in this action shall be represented at the final pretrial
     9 conference by the lead trial counsel for that party. Counsel should be prepared to
    10 discuss streamlining the trial, including presentation of testimony by deposition
    11 excerpts or summaries, time limits, stipulations as to undisputed facts, and
    12 qualification of experts by admitted resumes. The Court encourages, but does not
    13 require, counsel to agree to submit direct testimony of witnesses by way of
    14 declaration or written statement confirmed under oath by the witness.
    15         2.     The Court encourages, but does not require, counsel to agree to submit
    16 direct testimony of witnesses by way of declaration or written statement confirmed
    17 under oath by the witness. See Local Rule 16-11.2(b).
    18                                             II.
    19                                TRIAL PREPARATION
    20         A.     PRETRIAL DOCUMENTS
    21         1.     ALL PRETRIAL DOCUMENT COPIES DELIVERED TO THE
    22 COURT SHALL BE “BINDER-READY” (three-hole punched on the left side,
    23 without blue-backs, and stapled only in the top left corner).
    24         2.     STRICT COMPLIANCE WITH LOCAL RULE 16 IS REQUIRED.
    25 THIS ORDER SETS FORTH SOME DIFFERENT AND SOME ADDITIONAL
    26 REQUIREMENTS. THIS COURT DOES NOT EXEMPT PRO PER PARTIES
    27 FROM THE REQUIREMENTS OF RULE 16. Carefully prepared memoranda of
    28 contentions of fact and law, witness lists, a joint exhibit list, and a proposed final

                                                    5
Case 2:20-cv-10051-MWF-PVC Document 81 Filed 01/12/22 Page 6 of 15 Page ID #:1079



     1 pretrial conference order shall be submitted in accordance with the Rules, and the
     2 format of the proposed final pretrial conference order shall conform to the format
     3 set forth in Appendix A to the Local Rules. Failure to comply with these
     4 requirements may result in the final pretrial conference being taken off-calendar or
     5 continued, or in other sanctions.
     6         3.    The filing schedule for pretrial documents is as follows.
     7               a.    At least 21 days before final pretrial conference:
     8                     •      Memoranda of contentions of fact and law
     9                     •      Witness lists
    10                     •      Joint exhibit list
    11                     •      Motions in limine
    12               b.    At least 14 days before final pretrial conference:
    13                     •      Proposed final pretrial conference order
    14                     •      Statement of the case
    15                     •      Oppositions to motions in limine
    16               c.    At least 21 days before trial:
    17                     •      Proposed findings of fact and contentions of law, if the
    18                            matter requires them
    19               d.    At least 7 days before trial:
    20                     •      Trial briefs, if desired
    21                     •      Opposing parties’ proposed findings of fact and
    22                            conclusions of law, marked as described in this Order.
    23         4.    In addition to the requirements of Local Rule 16, the witness lists
    24 must include a brief description (one or two paragraphs) of the testimony and a
    25 time estimate for both direct and cross-examination (separately stated). See
    26 attached samples.
    27 ///
    28 ///

                                                   6
Case 2:20-cv-10051-MWF-PVC Document 81 Filed 01/12/22 Page 7 of 15 Page ID #:1080



     1         B.     MOTIONS IN LIMINE
     2         Each party is limited to five (5) motions in limine, unless the Court grants
     3 leave to file additional motions. All motions and oppositions are limited to ten
     4 (10) pages in length. All motions in limine must be filed at least three weeks
     5 before the final pretrial conference; oppositions must be filed at least two weeks
     6 before the final pretrial conference; reply briefs will not be accepted. Counsel are
     7 to meet and confer with opposing counsel to determine whether opposing counsel
     8 intend to introduce the disputed evidence and to attempt to reach an agreement that
     9 would obviate the motion.The Court will rule on motions in limine at the final
    10 pretrial conference. Motions in limine should address specific issues (e.g., not “to
    11 exclude all hearsay”). Motions in limine should not be disguised motions for
    12 summary adjudication of issues.
    13         C.     PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
    14         1.     For any matter requiring findings of fact and conclusions of law,
    15 counsel for each party shall, no later than 21 days before trial, file with the Court
    16 and serve on opposing counsel that party’s proposed findings of fact and
    17 conclusions of law in the format specified in Local Rule 52-3.
    18         2.     Seven days before the trial date, each counsel shall file with the Court
    19 and serve on opposing counsel a copy of the opposing party’s proposed findings of
    20 fact and conclusions of law, marked as follows:
    21                a.    Strike through those portions the party disputes;
    22                b.    Bold those portions the party admits; and
    23                c.    Underline those portions the party admits but considers
    24                      irrelevant.
    25         3.     Counsel need not make a uniform determination as to an entire
    26 proposed finding or conclusion, and may agree with a portion, dispute another
    27 portion, and consider a portion irrelevant. Counsel should, however, have only a
    28 single fact or conclusion of law contained in each paragraph.

                                                   7
Case 2:20-cv-10051-MWF-PVC Document 81 Filed 01/12/22 Page 8 of 15 Page ID #:1081



     1         4.     The parties may submit supplemental proposed findings of fact and
     2 conclusions of law during the course of the trial. If more than five supplemental
     3 findings are proposed, the same designating procedures should be used.
     4         5.     At the time of filing, each party also must submit its own unmarked
     5 proposed findings of fact and conclusions of law to the Chambers e-mail box in
     6 Word or WordPerfect format.
     7         D.     TRIAL EXHIBITS
     8         1.     Exhibits must be placed in three-ring binders indexed by exhibit
     9 number with tabs or dividers on the right side. Counsel shall submit to the Court
    10 an original and two copies of the binders. The spine portion of the binder shall
    11 indicate the volume number and contain an index of each exhibit included in the
    12 volume.
    13         2.     The Court requires that the following be submitted to the Courtroom
    14 Deputy Clerk (“CRD”) on the first day of trial:
    15                a.    The binder of original exhibits with the Court’s exhibit tags,
    16 yellow tags for plaintiff and blue tags for defendant, stapled to the front of the
    17 exhibit on the upper right-hand corner with the case number, case name, and
    18 exhibit number placed on each tag.
    19                b.    Two binders with a copy of each exhibit tabbed with numbers
    20 as described above for use by the Court. (Exhibit tags are not necessary on these
    21 copies.)
    22                c.    Three copies of exhibit lists.
    23                d.    Three copies of witness lists in the order in which the witnesses
    24 may be called to testify.
    25                e.    Exhibit tags may be obtained from the receptionist in the Public
    26 Intake Section, located on the Main Street level of the courthouse at 312 North
    27 Spring Street, Room G-19. Digital exhibit tags are also now available on the
    28 Court's website under Court Forms > General Forms > Form G-14A (Plaintiff) and

                                                   8
Case 2:20-cv-10051-MWF-PVC Document 81 Filed 01/12/22 Page 9 of 15 Page ID #:1082



     1 G-14B (Defendant). Digital exhibit tags may be used in place of the tags obtained
     2 from the Clerk's Office.
     3         3.     All counsel are to meet not later than ten days before trial and to
     4 stipulate, so far as is possible, to foundation, to waiver of the best evidence rule
     5 and to those exhibits that may be received into evidence at the start of the trial.
     6 The exhibits to be so received will be noted on the extra copies of the exhibit lists.
     7         E.     TRIAL
     8         Trial days are Tuesday through Friday from 9:00 a.m. to approximately 4:30
     9 p.m. with two fifteen-minute breaks and a one-hour lunch break.
    10         F.     COURT REPORTER
    11         Any party requesting special court reporter services for any hearing (i.e., real
    12 time transmission, daily transcripts) shall notify the reporter at least 2 weeks before
    13 the hearing date.
    14                                            III.
    15                    CONDUCT OF ATTORNEYS AND PARTIES
    16         A.     OPENING STATEMENTS, EXAMINING WITNESSES, AND
    17                SUMMATION
    18         1.     Counsel must use the lectern.
    19         2.     Counsel must not consume time by writing out words, drawing charts
    20 or diagrams, etc. Counsel may prepare such materials in advance.
    21         3.     The Court will honor (and may establish) reasonable time estimates
    22 for opening statements and closing arguments, examination of witnesses, etc.
    23         B.     OBJECTIONS TO QUESTIONS
    24         1.     Counsel must not use objections for the purpose of making a speech,
    25 recapitulating testimony, or attempting to guide the witness.
    26         2.     When objecting, counsel must rise to state the objection and state only
    27 that counsel objects and the legal ground of objection. If counsel wishes to argue
    28 an objection further, counsel must ask for permission to do so.

                                                   9
Case 2:20-cv-10051-MWF-PVC Document 81 Filed 01/12/22 Page 10 of 15 Page ID #:1083



      1         C.    GENERAL DECORUM
      2         1.    Counsel should rise when addressing the Court, and when the Court
      3 enters or leaves the courtroom.
      4         2.    Counsel should not approach the CRD or the witness box without
      5 specific permission and must return to the lectern when the purpose for
      6 approaching has been accomplished.
      7         3.    Counsel should address all remarks to the Court. Counsel are not to
      8 address the CRD, the court reporter, persons in the audience or opposing counsel.
      9 If counsel wish to speak with opposing counsel, counsel must ask permission to do
     10 so. Any request for the re-reading of questions or answers shall be addressed to
     11 the Court. Requests may not be granted.
     12         4.    Counsel should not address or refer to witnesses or parties by first
     13 names alone, with the exception of witnesses under 14 years old.
     14         5.    Counsel must not offer a stipulation unless counsel have conferred
     15 with opposing counsel and have verified that the stipulation will be acceptable.
     16         6.    While Court is in session, counsel must not leave counsel table to
     17 confer with any person in the back of the courtroom unless permission has been
     18 granted in advance.
     19         7.    Counsel shall not make facial expressions, nod, shake their heads,
     20 comment, or otherwise exhibit in any way any agreement, disagreement, or other
     21 opinion or belief concerning the testimony of a witness. Counsel shall admonish
     22 their clients and witnesses not to engage in such conduct.
     23         8.    Where a party has more than one lawyer, only one may conduct the
     24 direct or cross-examination of a particular witness, or make objections as to that
     25 witness.
     26 ///
     27 ///
     28         D.    PROMPTNESS OF COUNSEL AND WITNESSES

                                                  10
Case 2:20-cv-10051-MWF-PVC Document 81 Filed 01/12/22 Page 11 of 15 Page ID #:1084



      1          1.    Promptness is expected from counsel and witnesses. Once counsel are
      2 engaged in trial, this trial is counsel’s first priority. The Court will not delay the
      3 trial.
      4          2.    If a witness was on the stand at a recess or adjournment, counsel who
      5 called the witness shall ensure the witness is back on the stand and ready to
      6 proceed when trial resumes.
      7          3.    Counsel must notify the CRD in advance if any witness should be
      8 accommodated based on a disability or for other reasons.
      9          4.    No presenting party may be without witnesses. If a party’s remaining
     10 witnesses are not immediately available and there is more than a brief delay, the
     11 Court may deem that party to have rested.
     12          5.    The Court attempts to cooperate with professional witnesses and will,
     13 except in extraordinary circumstances, accommodate them by permitting them to
     14 be called out of sequence. Counsel must anticipate any such possibility and
     15 discuss it with opposing counsel. If there is an objection, counsel must confer with
     16 the Court in advance.
     17          E.    EXHIBITS
     18          1.    Each counsel should keep counsel’s own list of exhibits and should
     19 note when each has been admitted into evidence.
     20          2.    Each counsel is responsible for any exhibits that counsel secures from
     21 the CRD and must return them before leaving the courtroom at the end of the
     22 session.
     23          3.    An exhibit not previously marked should, at the time of its first
     24 mention, be accompanied by a request that it be marked for identification. Counsel
     25 must show a new exhibit to opposing counsel before the court session in which it is
     26 mentioned.
     27          4.    Counsel are to advise the CRD of any agreements with respect to the
     28 proposed exhibits and as to those exhibits that may be received without further

                                                    11
Case 2:20-cv-10051-MWF-PVC Document 81 Filed 01/12/22 Page 12 of 15 Page ID #:1085



      1 motion to admit.
      2         5.    When referring to an exhibit, counsel should refer to its exhibit
      3 number. Witnesses should be asked to do the same.
      4         6.    Counsel must not ask witnesses to draw charts or diagrams nor ask the
      5 Court’s permission for a witness to do so. Any graphic aids must be fully prepared
      6 before the court session starts.
      7         F.    DEPOSITIONS
      8         1.    All depositions to be used at trial, either as evidence or for
      9 impeachment, must be lodged with the CRD on the first day of trial or such earlier
     10 date as the Court may order. Counsel should verify with the CRD that the relevant
     11 deposition is in the CRD’s possession.
     12         2.    In using depositions of an adverse party for impeachment, either one
     13 of the following procedures may be adopted:
     14               a.     If counsel wishes to read the questions and answers as alleged
     15 impeachment and ask the witness no further questions on that subject, counsel shall
     16 first state the page and line where the reading begins and the page and line where
     17 the reading ends, and allow time for any objection. Counsel may then read the
     18 portions of the deposition into the record.
     19               b.     If counsel wishes to ask the witness further questions on the
     20 subject matter, the deposition shall be placed in front of the witness and the witness
     21 told to read the relevant pages and lines silently. Then counsel may either ask the
     22 witness further questions on the matter and thereafter read the quotations, or read
     23 the quotations and thereafter ask further questions. Counsel should have an extra
     24 copy of the deposition for this purpose.
     25         3.    Where a witness is absent and the witness’s testimony is offered by
     26 deposition, counsel may (a) have a reader occupy the witness chair and read the
     27 testimony of the witness while the examining lawyer asks the questions, or (b)
     28 have counsel read both the questions and answers.

                                                   12
Case 2:20-cv-10051-MWF-PVC Document 81 Filed 01/12/22 Page 13 of 15 Page ID #:1086



      1         G.    USING NUMEROUS ANSWERS TO INTERROGATORIES AND
      2               REQUESTS FOR ADMISSIONS
      3         Whenever counsel expects to offer a group of answers to interrogatories or
      4 requests for admissions extracted from one or more lengthy documents, counsel
      5 should prepare a new document listing each question and answer and identifying
      6 the document from which it has been extracted. Copies of this new document
      7 should be given to the Court and opposing counsel.
      8         H.    ADVANCE NOTICE OF UNUSUAL OR DIFFICULT ISSUES
      9         If any counsel have reason to anticipate that a difficult question of law or
     10 evidence will necessitate legal argument requiring research or briefing, counsel
     11 must give the Court advance notice. Counsel are directed to notify the CRD at the
     12 day’s adjournment if an unexpected legal issue arises that could not have been
     13 foreseen and addressed by a motion in limine. See Fed. R. Evid. 103.
     14
     15         N.B. “COUNSEL,” AS USED IN THIS ORDER, INCLUDES PARTIES
     16 APPEARING IN PROPRIA PERSONA.
     17
     18         IT IS SO ORDERED.
     19
     20 Dated: January 11, 2022                  __________________________________
                                                 MICHAEL W. FITZGERALD
     21                                          United States District Judge
     22
     23
     24
     25
     26
     27
     28

                                                   13
Case 2:20-cv-10051-MWF-PVC Document 81 Filed 01/12/22 Page 14 of 15 Page ID #:1087



      1
      2
      3
      4
      5
      6
      7
      8                     UNITED STATES DISTRICT COURT
      9                    CENTRAL DISTRICT OF CALIFORNIA
     10
     11                                  )        CASE NO. CV          -MWF( x)
                                         )
     12                  Plaintiff(s),   )        EXHIBIT LIST
                                         )
     13        v.                        )            SAMPLE FORMAT
                                         )
     14                                  )
                                         )
     15                  Defendant(s).   )
          ______________________________ )
     16
     17   EX. No.   DESCRIPTION                IDENTIFIED         ADMITTED
     18
     19
     20
     21
     22
     23
     24
     25
     26
     27
     28

                                             14
Case 2:20-cv-10051-MWF-PVC Document 81 Filed 01/12/22 Page 15 of 15 Page ID #:1088



      1
      2
      3
      4
      5
      6
      7
      8                     UNITED STATES DISTRICT COURT
      9                    CENTRAL DISTRICT OF CALIFORNIA
     10
     11                                  )        CASE NO. CV               -MWF( x)
                                         )
     12                  Plaintiff(s),   )        WITNESS LIST
                                         )
     13        v.                        )             SAMPLE FORMAT
                                         )
     14                                  )
                                         )
     15                  Defendant(s).   )
          ______________________________ )
     16
     17                                              DATES OF TESTIMONY
            WITNESSES FOR PLAINTIFF
     18
                                               (to be filled in during trial)
     19
     20
     21
     22     WITNESSES FOR DEFENDANT
     23
     24
     25
     26
     27
     28

                                             15
